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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Mary T. Janetos, et al.
                                            Plaintiff,
v.                                                         Case No.: 1:12−cv−01473
                                                           Honorable Thomas M. Durkin
Fulton Friedman & Gullace, LLP, et al.
                                            Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 15, 2018:


       MINUTE entry before the Honorable Thomas M. Durkin:Motion to withdraw as
attorney [237] is granted; Attorney Robert M. Horwitz terminated.Mailed notice(srn, )




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